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   CASE NUMBER: 502017CA012913XXCXMB Division: AK ****
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  Filing # 64625450 E-Filed 1 1/27/2017 04:58:50 PM


                        IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT
                             IN AND FOR PALM BEACH COUNTY, FLORIDA

          DAVID ROGERS,                                   CASE NO.:

                 Plaintiff,

          vs.

          PALM BEACH NEWSPAPERS, LLC,
          d/b/a PALM BEACH DAILY NEWS
          and ELIZABETH CLARKE,

                         Defendants.


                                             VERIIIED COMPLAINT

                 Plaintiff, DAVLD ROGERS, sues the Defendants, PALM BEACH NEWSPAPERS, LLC,

          d/b/a PALM BEACH DAILY NEWS and ELIZABETH CLARKE, and alleges:

                 1.      Plaintiff sues Defendant PALM BEACH NEWSPAPERS, LLC, d/b/a PALM

          BEACH DAILY NEWS (hereinafter "DAILYNEWS") for violations of his rights under the Florida

          Civil Rights Act of 1992, §760.01 et sea. (hereinafter the "FCRA") because he was discriminated

          against due to his age, and retaliated against atter making complaints of discrimination and

          harassment because Plaintiff believed he was being targeted due to his age. Plaintiff also sues

          Defendant ELIZABETH CLARKE, Editor for Defendant DAILY NEWS, for tortious interference

          with Plaintiff's employment, and sues Defendant DAILY NEWS, for negligent supervision of

          Defendant CLARKB.

                                          JURISDICTION AND VENUE

                 2.      Jurisdiction in this Court is proper as this is an action for damages and equitable

          relief. The amount sought by Plaintiff, not including interest and costs, exceeds $25,000.


                                                          1




FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 11/27/2017 04:58:50 PM
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                     Venue is appropriate in Palm Beach County. All acts complained of occurred in Palm

     Beach County.

                                                   PARTIES

             4.      Plaintiff, is a 53 year old male who resides in Palm Beach County, Florida, and was,

     at all times material to this case, employed by the Defendant in Palm Beach County as a News

     Reporter.

             5.      Defendant DAILY NEWS, is a foreign limited liability company, with its principal

     place of business in Palm Beach County, Florida; Defendant DAILY NEWS was, at all times

     relevant to this claim, Plaintiff s"employer" as that term is defined by the FCRA, §§760.01 et. seq.

     Defendant CLARKE is a natural person who is residing in Pahn Beach County, Florida.

             6.      At all times material, Defendant DAILY NEWS was conducting business in Palm

     Beach County, Florida and had its principal place of business is in Palm Beach County, Florida.

                          EXH.A.USTION OI+' ADMINISTRATIVE REMEDIES

             7.     Prior to filing this action, Plaintiff filed a charge of employment discrimination with

     the Equal Employment Opportunity Commission and Florida Commission on Human Relations on

     or about January 20, 2017, attached hereto as Exhibit 1. More than 180 days have elapsed since the

     charges were filed, and the FCHR has not made any determination on the merits of the charge.

     Accordingly, Plaintiff is authorized by law to file this action and is filing same within four (4) years

     of the adverse actions complained of (termination of December 07, 2016).

                                        FACTUAL ALLEGATIONS

            8.      Plaintiff was employed by the Defendant DAILY NEWS from April 10, 1995 until

     he was terminated on December 7, 2016.

                    At all times material, Plaintiff was fully qualified for the position he held with

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     Defendant DAILY NEWS and perfoimed his job in a satisfactory or above manner.

             10.    On or about September, 2014, a new younger individual named Elizabeth Clarke

     became the editor of the DAILY NEWS . Ms. Clarke, a relatively inexperienced journalist/copy

     editor, was unfairly critical of Plaintiff's work and gave preferential treatment to younger news

     reporters in terms of assignments and meeting deadlines. For example, Eleanor Roy, a young and

     inexperienced reporter in her 20s, was assigned to the Trump beat even though Plaintiff wrote most

     presidential primary stories; Aleese Kopf, also in her late 20s, was excused by Clarke from attending

     governmental meetings. Further, at least one of Roy's assignments had to be turned over to Plaintiff

     (story on Palm Beast residents' reaction to the death of Fidel Castro) because Roy was unable or

     unwilling to complete it. Roy and Kopf were not dismissed from employment as Plaintiffwas. Kopf

     was openly insubordinate to Clarke, yet she was not terminated for refusal to perform certain

     assigtnnents or complete tasks assigned to her. Defendant CLARKE made comments that the

     Defendant DAILY NEWS cherished and wanted to nurture "millenials" referring to younger

     reporters in their 20s; older reporters over the age of 40, were not so cherished and were terminated

     and/or forced to resign.

            11.     For seventeen (17) years, Plaintiffreceived very good evaluations that were warranted

     by his excellent work. Despite continuing to perform at a very high level, Ms. Clarke unfairly

     maligned Plaintiff with bad evaluations that unfairly misrepresented his actual work and

     performance.

            12.     On or about late January, 2016, Plaintiff received a negative evaluation that was

     replete with distortions and misrepresentations by Ms. Clarke.

            13.     On or about February 3, 2016, Plaintiff responded with a rebuttal complaining of

     harassment and discrimination because he believed he was being targeted due to his age.


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     Subsequently, on or about February 11, 2016, Plaintiff had a meeting with managing editor Nick

     Moschella, wherein Plaintiff again opposed and complained of what he believed was an unfair

     evaluation, harassment, and discrimination due to his age by Ms. Clarke.

             14.     Plaintiff then requested a meeting with Cathleen Reese, Director of Human

     Resources, to reiterate the same concerns Plaintiffhad expressed to Mr. Moschella, who had done

     nothing to address Plaintiffs complaints that he was being targeted by Ms. Clarke because of his

     age. Plaintiff provided Ms. Reese with the same letter dated Febraary 3, 2016, wherein Plaintiff

     opposed and complained of what he believed was an unfair evaluation, harassment, and

     discrimination due to his age.

             15.    After Plaintiff made these coraplaints, Ms. Clarke continued to unfairly criticize

     Plaintiffs work, and created an abusive and hostile work environment for him that interfered with

     Plaintiff's abil.ity to perform his work.

            16.     On December 7, 2016, Plaintiff was called in to a meeting with Ms. Clarke, Mr.

     Moschella, and an H.R. representative from Ohio, Toni Mitchell. During this meeting Ms. Clarke

     told Plaintiff, "Your position is being eliminated." Because younger employees were being retained,

     Plaintiff asked if a reporter with one year's experience was worth more than a reporter with twenty-

     two (22) years experience of experience, because Ms. Roy had only one (1) year total experience and

     was being retained instead of Plaintiff. Ms. Clarke refused to respond to the question and just said

     there were "performance issues" without specifying what the deficiencies were.

            17.     Ms. Kopf, who was also being retained instead of Plaintiff, also had considerably less

     experience than Plaintiff and had sent several e-mails to Ms. Clarke that were insubordinate, but she

     also was not selected for this alleged elimination of position. Other older employees over the age

     of 40 were unfairly criticized in performance reviews, including Michele Dargan and Andrew Davis.
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             18.      Plaintiff s employer, which also owns the Palm Beach Post, or is related to it through

     the Cox Enterprise chain, has in the recent past targeted older workers including but not limited to:

     Michelle Dargan, a reporter about sixty (60) years old, who was denied a transfer although more

     qualified than the young reporter who was selected, Matt Morgan, about twenty-six (26) years old;

     Dave Tepps, a sports writer about sixty (60); Ron Hayes, a news reporter about sixty (60); Emily

     Minor, a columnist now believed to be in her 60s; and Tory Malmer, a copy editor believed to be in

     her 60s.

             19.      On or about March 5, 2016, while reviewing/finalizing Plaintiff s 2015 evaluation,

     Plaintiff told Clarke that her hypercritical treatment of older stafPwould drive them away and that

     millennial-age workers don't tend to stay in less than ideal working environments for long. Ms.

     Clarke had earlier told Kopf that the Defendant wanted to make millennial employees happy so she

     would not require Kopf to attend governmental meetings. These assignments are considered

     undesirable because of the length of some government meetings.

                COUNT I/FLORIDA CIM RIGHTS ACT: AGE4 DISCRIMINATION

             20.      Plaintiff realleges and asserts, as if fully set forth in Count I, the allegations of

     ~¶1-19, supra.

             21.      Defendant DAILY NEWS intentionally discriminated against the Plaintiff in

     violation of §760.10, Fla. Stat., the Florida Civil Rights Act ("FCRA"), because of his age.

            22.       As a result of the adverse actions taken against Plaintiff, Plaintiff has suffered

     damages, including lost wages and benefits; mental anguish and humiliation; medical and therapeutic

     expenses; loss of reputation; loss of self esteem; loss of the enjoyment of life and other tangible and

     intangible losses.

             WHEREFORE, Plaintiff respectfully requests that this Court:
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             A.       Award Plaintiff lost wages, benefits, and other economic damages, as appropriate;

             B.       Award injunctive relief in the form of reinstatement to his position, or front pay in

     lieu thereof;

             C.       Award Plaintiff compensatory damages for mental anguish and humiliation;

     medical and therapeutic expenses; compensatory damages for loss of reputation; loss of self esteem;

     loss of the enjoyment of life and other tangible and intangible losses.

             D.       Award Plaintiff a reasonable attorneys' fee and his costs in accordance with FCRA.

                      COUNT II/FLORIDA CIVIL RIGHTS ACT: RETALIATION

            23.       Plaintiff realleges and asserts, as if fully set forth in Count II, the allegations of

     111-19, subra.

            24.       Defendant DAILY NEWS , unlawfully retaliated against the Plaintiff, a$er he

     engaged in protected activity for complaining about age discrimination, in violation of §760.10, Fla.

     Stat., the Florida Civil Rights Act ("FCRA").

            25.       As a result of the adverse actions taken against Plaintiff, he has

     suffered damages, including loss of pay; lost wages and benefits; mental anguish and humiliation;

     medical and therapeutic expenses; loss of reputation; loss of self esteem; loss of the enjoyrnent of

     life and other tangible and intangible losses.

            WHEREFORE, Plaintiff respectfully requests that this Court:

            A.        Award Plaintiff lost wages, benefits, and other economic damages, as appropriate;

            B.        Award injunctive relief in the fonn of reinstatement to his position;

            C.        Award Plaintiff compensatory damages for mental anguish and humiliation;

     medical and therapeutic expenses; compensatory damages for loss ofreputation; loss of self esteem;

     loss of the enjoyment of life and other tangible and intangible losses.


                                                         1.1
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             D.      Award Plaintiff a reasonable attorneys' fee and his costs, and any other relief

     deemed just and proper.

                     COUNT III: NEGLIGENT SUPERVISION
                                v. Defendant PALM BEACH NEWSPAPERS, LLC, d/b/a PALM
                                BEACH DA1LY NEWS.

             26.     Plaintiff reasserts and alleges, as if fully set forth in Count III, the allegations of ¶¶

     1-19, supra.

             27.     Defendant DAILY NEWS was negligent in the supervision of its employee, Ms.

     Clarke, because it failed to take prompt remedial action even after Plaintiff made it aware, in writing,

     that Ms. Clarke was discriminating against older employees and giving preferential treatment to

     younger employees.

             28.    As a direct and proximate result of Defendant's Palm Beach Daily News',

     negligence, acts, and/or omissions, Plaintiff has been damaged and has experienced pain and

     suffering, humiliation, mental anguish, loss of the enjoyraent of life, and inconvenience.

             WHEREFORE, Plaintiff respectfully requests that this Court:

            A.      Award Plaintiff compensatory damages for humiliation, loss of reputation, and pain

                    and suffering; and

            B.      Award Plaintiff her costs of this action.

                    COUNT IV: TORTIOUS INTERFERENCE v. Defendant CLARKE

            29.     Plaintiff reasserts and alleges, as if fully set forth in Count IV, the allegations

     of¶¶ 1-19, sunra.

            30.     Defendant CLARKE, acting outside the course and scope of her employment,

     without justification, and for improper, personal and vindictive purposes, to wit, to punish and to

     humiliate the Plaintiff for having complained that she was discriminating against him and other older


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     employees, and giving preferential treatment to younger employees, interfered with Plaintiff's

     employment by recommending his termination and/or terminating his employment with the

     Defendant DAILY NEWS.

             31.     As a result of said conduct, Plaintiff was damaged, sustained pain and suffering,

     humiliation, mental anguish, loss of the enjoyment of life, and inconvenience.

             WHEREFORE, Plaintiff respectfitlly requests that this Court:

             A.      Award Plaintiff compensatoiy damages for lost wages and benefits, mental anguish,

                     humiliation, loss of reputation, loss of the enjoyment of life, and pain and suffering;

                    and

             B.      Award Plaintiffthe costs ofthis action.

                                               JURY DEMAND

             PLAIlVTIITI DEMA.NDS JiJRY ON ALL ISSUES SO TRIABLE.

             Under penalty of perjury, I have reviewed and state that the facts set forth herein are true and
     correct to the best of my knowledge and belief.

                                                            a vy 4.xa~
                                                       AVID OGER




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                                          Flori aMar No. 437883
                                          GARICIA LAW FIRM, P.A.
                                          120 South Olive Ave, Suite 401
                                          West Palm Beacb, FL 33401
                                          Telephone: (561) 832-7732
                                          Telecopier: (561) 832-7137
                                          E-mail: isidrogarcia@,garcialaborlaw.com
                                          E-mail for e-service of court documents:
                                          eservice@garcialaborlaw.com
                                          COUNSEL FOR PLAINTIFF


      Dated: ~ ~~'
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                                        GARCIA LAW FIRM, P.A.
                                           Telecopier: (561) 832-7137

                                     FACSIMII.E TRANSMPI"TAL SHEET

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      DATE:                   January 20, 2017

      TOTAL NUIVIBER OF PAGES (including this page): 5

      PLEASE DELIVER THE FOLLOWING PAGES Z4MEDIATELY T0:

      NAME:                  Michael Farrell and Dante Bonner

      LOCATION:              305/808-1855 and 850/487-1007

      FROM:                  Mark, Assistant to I. Garcia

      REFERENCE:             David Rogers vs. Palm Beach Daily News

      ENCLOSED:              Please see letter with Charge of Discrimination.




                                              www.garcialaborlaw.com
                           120 South Olive Ave., Suite 401, VJest Palm Beach, Florida, 33401
              Telephone (561) 832-7732 Telecopier (561) 832-7137 e-mail: isidrogarcia@garcialaborlaw.com


                                                                                              ;;;°;PLAINTIFF'S
                                                                                                    EXHIBIT
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                                       GARCIA LAW FIltM, P.A.
                                                 Ysidro M. Garcia

      January 20, 2017

      VIA FACSIlVIILE AND
      CERTII~ IED MAII,

      Michael Farrell, District Director FAX 305l808-1855
      EEOC - Miami District Office
      Miam.i Tower
      100 S.E. 2ad Street, Suite 1500
      Miami, FL 33131

      Danta Bonner, Customer Service/intake Manager FAX 850/487-1007
      Florida Commission on Human Relations
      4075 Esplanade Way, Room 110
      Tallahassee, FL 32399-7020

      Re:     Davi"o,gers vs. Palno Beach Daily News

      Dear Mr. Farrell and Mr. Bonner:

      Enclosed please find a Charge of Discrimination on behalf of my client, David Rogers. Please file
      same and call if you need any further information or have any questions. Tliis charge is not being
      dual filed, but is filed sepl;rately wlth each of your agencies. I am submitting this joint letter to you
      so that you are aware that the charge is being filed independently with each agency.




      Copy without enclosure: Client




                                              www.garcialaborlaw.com
                                      g-mail: isidrqgarcia(Aearcialaborlaw.com
                           120 South Olive Ave., Suite 401, West Palm Beach, Florida 33401
                                 Telephone (561) 832-7732•Telecopler (561) 832-7137
Case 9:18-cv-80005-DMM Document 1-3 Entered on FLSD Docket 01/02/2018 Page 12 of 17


                                                                               ;
                  CHARGE OF DILRIMINATION                           AGENCY                    CHARGE NUMBER
    This form is affected by the Privacy Act of 1974; See PrIvacy
    Act Statement before completing this form.                      ❑ FEPA
                                                                    ❑ EEOC
        Florida Commission on Human Relations and EEOC
          State or local Agency, if any
    NAME (Indicate Mr., Ms., Mrs.)                                  HOME TELEPHONE (Include Area Code)
    MR. DAVID ROGERS                                                561-307-3088
    STREET ADDRESS                    CITY, S'fATE AND ZIP CODE                          DATE OF BIRTH
    3700 SAVOY LANE, APT, C           WEST PALM BEACH, FL 33417                    —XXX-XX-XXXX
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    COMIVIITTEE, STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (If more than
    one list below.)
    NAME                                                            NUMBER OF              TBLEPHONE (Inolude
    PALM BEACH NEWSPAPERS LLC, foreign limited                      EMPLOYEES,             Area Code)
    liability company                                               MEMBERS                561-820-3800
    d1b/a PALM BEACHDAILY NEWS                                      +30
    STREET ADDRESS CITY, STATE AND ZIP CODE
    400 ROYAL PALM WAY, SUIT'E 100
    PALM BEACH, FL 33480
    NAN1r3                                                          TELBPHONB (Include Area Code)


    STREET ADDRESS CITY, STATE AND ZIP CODE                         COUNTY




    CAUSE OF DISCRIMINATION BASED ON (Check                         DATE DISCRIIViIIdATION TOOK PLACE
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    I. IlVTRODUCTORY STATEMENT
    I AM A 52 YEAR OLD MALE THAT WAS TERMINATED FROM MY EMPLOYMENT AS A NEWS REPORTER
    ON DECEMBER 7, 2016. I PERFORMED MY WORK VERY WELL AND WAS A VERY EXPERIENCED
    REPORTER WHO RECEIVED CONSISTENTLY POSITIVE EVALUATIONS FROM THE DATE OF HIRE ON
    APRIL 10, 1995 UNTIL NEAR THE END OF MY EMPLOYMENT WHEN A NEW YOUNGER INDIVIDUAL
    NAMED ELIZABETH CLARKE BECAME THE EDITOR. MS. CLARKE, A RELATIVELY INEXPERIENCED
    JOURNALIST/COPY EDITOR, WAS UNFAIRLY CRITICAL OF MY WORK; GAVB PREFERENTIAL
    TREATMENT TO YOUNGER NEWS REPORTERS ON ASSIGNMENTS AND DEADLINES. FOR EXAMPLE,
    ELEANOR ROY, A YOUNG AND VERY GREEN REPORTER IN HER 20s AND ALEESE KOPF, ALSO IN HER
    LATE 20s, WERE GIVEN MORE TIME ON DEADLINES, FAILED TO COMPLETE ASSIGNMENT AT LEAST
    ONE OF WHICH HAD TO BE TURNED.OVER TO ME (STORY ON DBATH OF CASTRO AND EFFECT ON US-
    CUBA RELATIONS). MY PRIOR EDITOR, CAROL CARNEVALE, AN EXPERIENCED JOURNALIST AND MY
    MANAGING OR NEWS EDITOR OF 17 YEARS, GAVE ME VERY GOOD EVALUATIONS THAT WERE
    WARRANTED BY MY EXCELLENT WORK, WHICH DID NOT END WHEN CLARKE TOOK OVER THE
    OPERATIONS. THIS EMPLOYER, WHICH ALSO OWNS THE PALM BEACH POST, OR IS RELATED TO 1T
    THROUGH THE COX ENTERPRISES CHAIN, HAS IN THE RECENT PAST TARGETED OLDER WORKERS
    INCLUDING BUT NOT LIMITED TO: MICHELLE DARGAN, A REPORTER ABOUT 60 YEARS OLD, WHO
    WAS DENIED A TRANSFER ALTHOUGH MORE QUALIFIED THAN YOUNG REPORTER SELECTED, MATT
    MORGAIV, ABOUT 25 YEARS OLD; DAVE TEPPS, A SPORTS WRITER ABOUT 60; RON HAYES, A NEWS
    REPORTER ABOUT 60; AND EMILY MINOR, A COLUMNIST IN HER 60s.
    ON OR ABOUT LATE JANUARY, 2016, I RECEIVED A NEGATIVE EVALUATION THAT WAS FULL OF
    DISTORTIONS AND OUTRIGHT LIES THAT WAS PREPARED BY MS. CLARKE. BECAUSE I BELIEVED AND
    STILL DO THAT I WAS BEING UNFAIRLY TARGETED DUE TO MY AGE, I RESPONDED WITH A REBUTTAL
    DATED FEBRUARY 3, 2016, WHEREIN I COMPLAINED OF HARASSMBNT AND DISCRIMINATION BECAUSE
    I BELIEVED I WAS BEING TARGETED DUE TO MY AGE. I SUBSEQUBNTLY HAD A MEETING WITH
    MANAGING EDITOR NICK MOSC'ICELLA ON OR ABOUT FBBRUARY 11, 2016, WHEREIN I AGAFN OPPOSED
    AND COMPLAINED OF WHAT I BELIEVED WAS AN UNFAIR EVAI.UATION, HARASSMENT AND
    DISCRIIviINATION DUE TO MY AGE BY MS. CLARKE. I SUBSEQUENTLY REQUESTED MET WITH
    DIRECTOR OF HUMAN RESOURCES, CATHLEEN REESE, TO REITBRATB THE SAME CONCERNS I HAD
    EXPRESSED TO MR MOSCHELLA. I HAD SUPPLIED THE SAME LETTBR TO REESE.
    AFTER I MADE THESE COMPLAINTS, MS. CLARKE CONTINUED TO MINIIvIIZE MY WORK, UNFAIRLY
    CRITICIZB MY WORK, AND THE SITUATION BECOME MORE AND MORE HOSTII.E FOR ME DURING THE
    ENSUING MONTHS.
    FINALLY, ON DECEMBER 7, 2016, I WAS CALLED IN TO A MBETING WITH CLARKE, MOSCHELLA AND AN
    H.R REPRESENTATIVE FROM OHIO, BLACK FEMALB ABOUT 30 YEARS OLD. CLARKB TOLD ME "YOUR
    POSITION IS BEING ELIIv1IlNATED:' I ASKED IF A REPORTER WITH ONB YEAR'S EXPERIBNCE WAS
    WORTH MORE THAN A REPORTER WITH 22 YEARS OF EXPERIBNCE, BECAUSE MS. ROY HAD ONE YEAR
    TOTAL BXPERIENCE AND WAS BEING RBTAINED INSTEAD OF ME, AS WAS MS. KOPF, WHO
    CONSIDERABLY LESS EXPERIEATCED ALSO. MS. KOPF SENT EMAILS THAT BORDERED ON
    INSUBORDINATION TO HER SUPERVISORS, AND WAS NEVER DISCIPLINED. OLDER EMPLOYEES WERE
    CRITICIZED IN REVIEWS IF THEY QUESTIONED MANAGEMENT DECISIONS,
     1L EMPLOYER'S STATED REASON FOR DISCRIMINATORY TREATMENT.
    CLARKE TOLD ME THE NEWSPAPER WAS GOING IN A DIFFBRENT DIRECTION IN TERMS OF DIRECTIONS
    OF STORIES THEY WOULD BE COVERING, BUT DIDN'T EXPLAIN WHY I COULD NOT BB ASSIGNED TO
    THOSE STORIES. SHE THEN CLAIMED THERE WERE PERFORMANCE ISSUES, BUT DID NOT SPECIFY
    WHAT THEY WERE.
    M. DISCRIIi'IDNATION STATEMENT
    I BELIEVE I HAVE BEEN DISCRIMINATED AGAINST BECAUSE OF MY AGE IN VIOLATION THE AGE
    DISCRIMINATION IN BMPLOYMENT ACT (ADEA), 29 USC SECTION 621 et seq., AND THE FLORIDA CIVIL
    RIGHTS ACT OF 1992, SECTION 760.01 et seq. I ALSO BELIEVE I WAS RETALIATED AGAINST FOR
    OBJECTING AND OPPOSING DISCRIMINATION.

    IV. RELIEF SOUGHT
    I SEEK LOST WAGES AND BENEFITS FROM THE DATB OF TERMINATION TO THE DATE OF TRIAL,
    LIQUIDATED DAMAGES, REINSTATEMENT TO MY EMPLOYMENT WITH INJUNCTIVE RELIEF OR FRONT
    PAY IN LIEU OF REINSTATEMENT, COMPENSATORY DAMAGES FOR MENTAL ANGUISH, PHYSICAL PAIN
    AND SUFFERING AND PUNIT'IVE DAMAGES, PLUS ATTORNEY'S FEES AND COSTS.
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    I do not want this charge filed with both the EEOC and the       NOTARY - When necessary for State and local
    State or local Agency, if any. I will advise the agencies if I   Reguirements)
    change my address or telephone number and cooperate fully
    with them in the processing of my charge in accordance with      I swear or affitm that I have read the above charge and
    their procedures.                                                that it is true to the best of my Imowledge, information
                                                                     and belief.
    I declare under penalty of perjury that the foregoing is true and SIGNATURB OF COMPLAINANT
    co ect.


        ,                                                            SUBSCRIBED AND SWORN TO MB THIS DATE
                 44'1
    January 20, 201'1                                                (Day, month, and year)
    Date       Charging Party (Signature)
         Case 9:18-cv-80005-DMM Document 1-3 Entered on FLSD Docket 01/02/2018 Page 15 of 17


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